                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

IN RE:                                        §          CASE NO. 14-11771-TMD-13
                                              §
NESANET G. BELAY                              §
                                              §
         DEBTOR                               §          CHAPTER 13
                                              §
                                              §
                                              §
                                              §          JUDGE TONY M. DAVIS

  RESPONSE OF WELLS FARGO BANK, N.A. TO DEBTOR’S OBJECTION TO THE
   SECURED CLAIM OF WELLS FARGO BANK N.A. CLAIM #4 (DOCKET #36)

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE OF SAID COURT:

       COMES NOW WELLS FARGO BANK, N.A., (hereinafter “Respondent”), and files

this, its Response to Debtor’s Objection to The Secured Claim of Wells Fargo Bank N.A. and in

response thereof would respectfully show the Court the following:

    1. Respondent admits the allegations in Paragraph one (I) of the Objection.

    2. Respondent denies the allegations in Paragraph two (II) of the Objection.                    The

         Respondent would show that the Debtor’s personal liability or lack there is irrelevant to

         the Respondent’s claim on the property of the Debtor’s bankruptcy estate. Specifically,

         the Deed of Trust attached to the Respondent’s proof of claim reflects an interest and

         claim against the property commonly known as 10805 Barnhill Dr., Austin, Texas. This

         property is listed on Debtor’s Schedule A. Further, the respondent asserts that the Texas

         Civil Practice and Remedies Code §16.035(e) states “If a … note or obligation payable is

         secured by a real property lien, the four-year limtations period does not begin to run until


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   the maturity date of the last note, obligation, or installment. The last installment does not

   mature until April 15, 2034. Thus, the statute of limitations does not apply to this debt.

3. Respondent denies the allegations in paragraph three (III) of the Objection. The Debtor’s

   Objection has raised no issue as to the authenticity of the Debtor’s signature on the Deed

   of Trust. A Notary Seal merely renders a document recordable and has no impact on the

   enforceability of the Deed of Trust against the Debtor pursuant to Texas Property Code

   13.001(b).

WHEREFORE, PREMISES CONSIDERED, the Respondent requests that Debtor’s

Objection to Claim be DENIED, WELLS FARGO BANK, N.A. be allowed a secured claim

in the amount of $113,020.30 and that such claim contain a pre-petition arrearage

component of $41,220.30 and for any and such further relief to which WELLS FARGO

BANK, N.A. may be justly entitled.


                                                Respectfully submitted,

                                                BARRETT DAFFIN FRAPPIER
                                                TURNER & ENGEL, L.L.P.


                                                BY: /s/ Brian Glidden      6/18/2015
                                                   BRIAN GLIDDEN
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                                                   ATTORNEYS FOR RESPONDENT




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Response of WELLS FARGO BANK, N.A.to the

Amended Trustee’s Objection to Claim was electronically filed on June 18, 2015 and served on the same

day electronically or by First Class U.S. Mail, postage paid, in accordance with the Bankruptcy Rules to

the following:

ELECTRONICALLY OR BY REGULAR FIRST CLASS U.S. MAIL, POSTAGE PREPAID TO:

Debtors:
                                                       Debtors’ Attorney:
Nesanet G. Belay                                       Luis Manuel Paredes Jr.
15352 English River Loop                               206 East 9th Street, Suite 1511
Leander, TX 78758                                      Austin, TX 78748

Nesanet G. Belay                                       Chapter 13 Trustee:
10805 Barnhill Dr.
                                                       Deborah Langehennig
Austin, TX 78758                                       Chapter 13 Trustee
                                                       Barton Creek Plaza II, Suite 320
                                                       3801 Capital of Texas HWY S.
                                                       Austin, TX 78704-6640




                                                        /s/ Brian Glidden                 6/18/2015
                                                        BRIAN GLIDDEN
                                                         TBA # 24059829




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